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               UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

IN RE GEORGIA SENATE BILL 202                        Master Case No.:
                                                     1:21-MI-55555-
                                                     JPB

THE NEW GEORGIA PROJECT, et al.,

                      Plaintiffs,                    Civil Action No.:
                v.                                   1:21-cv-01229-
                                                     JPB
BRAD RAFFENSPERGER, in his official capacity
as the Georgia Secretary of State, et al.,

                      Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                     Intervenor-Defendants.



PLAINTIFFS’ RESPONSE IN OPPOSITION TO STATE DEFENDANTS’
  MOTION FOR RECONSIDERATION OR, IN THE ALTERNATIVE,
         CERTIFICATION FOR IMMEDIATE APPEAL
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                                 INTRODUCTION

      Secretary of State Brad Raffensperger and members of the Georgia State

Election Board (collectively, “State Defendants”) assert for the first time, in a motion

for reconsideration, that Plaintiffs do not meet the causation and redressability

requirements of standing for Count III of their Amended Complaint. 1 But a motion

for reconsideration is not the appropriate procedural vehicle for introducing new

arguments that a party did not make in the original motion, even if those arguments

challenge the court’s jurisdiction.

      Offering no explanation for this procedural misstep, State Defendants attempt

to litigate a new, different objection to Plaintiffs’ standing by invoking the Supreme

Court’s decision in Whole Woman’s Health v. Jackson, 142 S. Ct. 522, 534 (2021)—

a case which does not address the Article III standing requirements to begin with,

much less reveal any “manifest errors of law or fact” as required to justify

reconsideration of the Court’s Order. Whole Woman’s Health involved a suit to

enjoin the Texas Attorney General from enforcing a state-law abortion restriction

that on its face prohibited state officials from bringing enforcement actions, instead


1
 State Defendants’ motion requests reconsideration of the Court’s standing analysis
for several plaintiff groups in this consolidated action. This response addresses only
arguments that pertain to plaintiffs in New Georgia Project v. Raffensperger, No.
1:21-cv-1229-JPB. For this reason, all filing and docket citations in this response
refer to New Georgia Project v. Raffensperger, No. 1:21-cv-1229-JPB.
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authorizing only private citizens to bring civil enforcement suits. Id. at 530. So even

if State Defendants’ arguments were timely raised, they would fail in any event

because here State Defendants do not deny that they have enforcement responsibility

for at least some of the provisions of Senate Bill (“SB”) 202 that Plaintiffs challenge

in Count III of their Amended Complaint.

      Finally, the Court’s Order does not meet any of the requirements for an

interlocutory appeal certification. State Defendants do not identify any controlling

questions of law, but instead invite the Court to re-apply existing precedent to case-

specific allegations. And none of the arguments they raise will create any questions

of first impression, nor are they questions on which substantial differences of

opinion exist (beyond State Defendants’ own disagreement with the Court’s ruling

on an issue they neglected to raise in the first place). Permitting an appeal at this

stage would result only in pointless delay and piecemeal litigation that would

unfairly prejudice Plaintiffs’ ability to obtain meaningful relief. The Court’s decision

was correct, and there is no reason to revisit it in any respect.

                                  BACKGROUND

      On December 9, 2021, this Court denied the State Defendants’ Motion to

Dismiss Plaintiffs’ Amended Complaint. As relevant here, the Court held that

Plaintiff Rise, Inc. had alleged the requisite injury-in-fact; that State Defendants had

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waived arguments related to standing’s traceability and redressability prongs by

failing to raise them at all; and that Plaintiffs had satisfied these requirements in any

event because the “injuries Plaintiffs allege are directly traceable to SB 202, for

which State, County and the individual Defendants have enforcement

responsibility.” Order Denying Motions to Dismiss (“Order”) at 7, 13 n.11, 15, ECF

No. 86.

      State Defendants’ motion for reconsideration challenges the Court’s ruling

only as to Count III of Plaintiffs’ Amended Complaint, which alleges that SB 202

violates the First Amendment because it was enacted with the purpose of restricting

voters’ ability to cast ballots for their preferred candidates on the basis of their

political viewpoint. See Mot. to Recon. at 2-3, ECF No. 97; State Defs.’ Br. at 10,

ECF No. 97-1; Am. Compl. ¶¶ 177-84, ECF No. 39. Count III of Plaintiffs’

Amended Complaint was brought against all named defendants and pertains to all

of the provisions of SB 202 that Plaintiffs challenge. 2 For the first time, State

Defendants now argue that Plaintiffs lack standing to bring Count III specifically



2
  Plaintiffs also brought a First Amendment claim challenging the constitutionality
of the criminal prohibition on distributing items of value to those waiting in line at
polling places, but that claim was brought solely against the county prosecutors
responsible for enforcing the relevant provision. See Am. Compl. ¶¶ 185-98 (Count
IV).

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against them because Plaintiffs have not “identif[ied] any enforcement authority

State Defendants possess as to the injuries alleged in this claim.” State Defs.’ Br. at

10.

      Plaintiffs’ Amended Complaint expressly alleges that each of the State

Defendants possess enforcement authority over certain provisions of SB 202. It

states that Secretary Raffensperger “is responsible for the administration and

implementation of election laws in Georgia, including [SB 202]” and that, “[a]mong

other responsibilities,” the law tasks him with “designing and making available the

state’s absentee ballot application form, which ‘shall require the elector’ to supply

the newly mandated proof of identification.” Am. Compl. ¶ 30 (quoting SB 202,

§ 25). It further alleges that each of the defendant members of the Georgia State

Election Board are empowered by Georgia law to take various actions to “obtain

uniformity” and ensure “fair, legal, and orderly conduct of primaries and elections”

and that SB 202 specifically charges them with “enforcing county compliance” with

its provisions. Am. Compl. ¶¶ 31-32 (citing SB 202, §§ 15, 16). State Defendants do

not deny these allegations.

                               LEGAL STANDARD

      “Courts may grant relief under Rule 59(e) or Local Rule 7.2E only if the

moving party clears a high hurdle.” Blake v. Elul, LLC, No. 1:20-CV-2107-JPB,

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2021 WL 3291330, at *1 (N.D. Ga. Aug. 2, 2021) (quoting Chesnut v. Ethan Allen

Retail, Inc., 17 F. Supp. 3d 1367, 1370 (N.D. Ga. 2014)). The Eleventh Circuit has

stated in no uncertain terms that “[t]he only grounds for granting a Rule 59 motion

are newly-discovered evidence or manifest errors of law or fact.” Id. (alteration in

original) (quoting Arthur v. King, 500 F.3d 1335, 1343 (11th Cir. 2007)). This Court

has held substantially the same with respect to Local Rule 7.2(E), which states that

“‘[m]otions for reconsideration shall not be filed as a matter of routine practice’ and

may be filed only when ‘absolutely necessary.’” Id. “Reconsideration is only

‘absolutely necessary’ where there is: (1) newly discovered evidence; (2) an

intervening development or change in controlling law; or (3) a need to correct a clear

error of law or fact.” Id. (quoting Bryan v. Murphy, 246 F. Supp. 2d 1256, 1259

(N.D. Ga. 2003)).

      Under the text of 28 U.S.C § 1292(b), the Court may certify an order for

immediate interlocutory appeal pursuant to the statute only when the order “involves

a controlling question of law as to which there is substantial ground for difference

of opinion” and resolution of that question would “materially advance the ultimate

termination of the litigation.” McFarlin v. Conseco Servs., LLC, 381 F.3d 1251,

1253 (11th Cir. 2004).



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                                    ARGUMENT

I.    No grounds exist for the Court to reconsider its ruling that Plaintiffs have
      standing to pursue their First Amendment claim.

      State Defendants’ new arguments as to why Plaintiffs lack standing to bring

Count III against them are procedurally, legally, and factually flawed.

      A.     A motion for reconsideration is not the proper vehicle to raise new
             standing arguments.

      As the Court noted in its Order, State Defendants did “not address the

traceability and redressability prongs of the standing analysis” in their original

motion. Order at 13 n.11. But despite these omissions, the Court undertook its own

analysis to confirm Plaintiffs’ standing. Id. at 13-16. Thus, State Defendants’ silence

did not deter the Court from determining its jurisdiction to decide this matter; it

simply precludes them from introducing any novel attacks on Plaintiffs’ standing on

a motion for reconsideration. Defendants are of course correct that the issue of

standing is jurisdictional and thus not subject to waiver, State Defs.’ Br. at 3 n.1, 10

(citing United States v. Hays, 515 U.S. 737, 742 (1995)), but they wrongly equate

waiving an issue with waiver of particular arguments in support thereof during the

resolution of a specific motion.

      When deciding a motion for reconsideration, “any arguments which the party

inadvertently failed to raise earlier are deemed waived.” McCoy v. Macon Water


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Authority, 966 F. Supp. 1209, 1223 (M.D. Ga. 1997) (emphasis added) (citing Mateo

v. M/S Kiso, 805 F. Supp. 761, 787 (N.D. Cal. 1991)). Courts in this district have

been clear that “Parties . . . may not employ a motion for reconsideration as a vehicle

to present new arguments or evidence that should have been raised earlier, introduce

novel legal theories, or repackage familiar arguments to test whether the Court will

change its mind.” 3 Brogdon ex rel. Cline v. Nat’l Healthcare Corp., 103 F. Supp. 2d

1322, 1338 (N.D. Ga. 2000); see also McCoy, 966 F. Supp. at 1223 (“The motion

for reconsideration is not an opportunity for a party to improve upon his arguments

or try out new arguments; nor is it properly a forum for a party to vent his

dissatisfaction with the Court’s reasoning.”); Blake, 2021 WL 3291330, at *1 (“A

motion for reconsideration is not an opportunity to show the court how it could have

done it better” (internal quotes omitted) (quoting Bryan, 246 F. Supp. 2d at 1259)).

Thus, notwithstanding its jurisdictional nature, “[a] motion for reconsideration is not




3
  State Defendants do not contend that Whole Woman’s Health represents “an
intervening change in the law” of the type that would warrant a motion for
reconsideration. McCoy, 966 F. Supp. at 1222–23. They instead argue that this
Court’s decision was wrong at the time it was made, relying on many cases predating
Whole Woman’s Health, and contend that Whole Woman’s Health was an
application of the principles contained in those cases. See, e.g., State Defs.’ Br. at 7
(citing Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1254 (11th Cir. 2020)).

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an appropriate vehicle to raise [an] issue of standing for the first time.” 4 Hoffman v.

Wells Fargo Bank, N.A., No. 13-CV-5700, 2015 WL 3755207, at *9 (E.D. Pa. June

16, 2015).

      B.     State Defendants’ new arguments lack merit.

      Even if State Defendants could challenge the causation and redressability

elements of standing for the first time in a motion for reconsideration, their argument

misreads the Supreme Court’s decision in Whole Woman’s Health and ignores key

allegations in the Amended Complaint (as well as fundamental differences between

the statute at issue in that case and the ones at issue here). In Whole Woman’s Health

the Supreme Court held that the Ex parte Young exception to sovereign immunity

did not apply to the petitioners’ suit against the Texas Attorney General because the

Texas Attorney General was not actually authorized to enforce the abortion

restriction that the petitioners sought to enjoin him from enforcing. Whole Woman’s

Health, 142 S. Ct. at 534. In fact, the Texas statute at issue expressly prohibited state

officials from enforcing it, instead relying exclusively on civil suits by private



4
 Though State Defendants’ new arguments would fail as a matter of law at any stage
of the litigation for the reasons discussed below, the appropriate procedural vehicle
for raising them would have been a new Rule 12(b)(1) motion, not a motion for
reconsideration. See Rose v. Raffensperger, 511 F. Supp. 3d 1340, 1350 (N.D. Ga.
2021).

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citizens. Id. at 530 (citing TEX. HEALTH & SAFETY CODE ANN. § 171.207(a)). The

case did not involve a statute that, like SB 202, specifically assigned enforcement

authority to state officials, nor did the Court even address the question of standing.

Id. at 534. 5

       This Court and the Eleventh Circuit have held that the causation and

redressability requirements of standing are met where “[e]ach injury [was] directly

traceable to the passage of [the challenged statute] and would be redressed by

enjoining each provision.” Order at 15 (quoting Ga. Latino All. for Hum. Rts. v.

Governor of Ga., 691 F.3d 1250, 1260 (11th Cir. 2012)); see also Ga. Latino All.,

691 F.3d at 1260 & n.5 (finding causation and redressability “easily satisfied” even

where the state official had only “indirect contact with the [challenged] program’s

enforcement”). In other words, in a “pre-enforcement challenge to a legislative

enactment, the causation element does not require that the defendants themselves

have ‘caused’ [plaintiffs’] injury by their own acts or omissions in the traditional tort

sense; rather it is sufficient that the ‘injury is directly traceable to the passage of [the



5
  While some courts have noted “overlap” between Ex parte Young and standing,
see Support Working Animals, Inc. v. DeSantis, 457 F. Supp. 3d 1193, 1210 (N.D.
Fla. 2020) (quoting Doe v. Holcomb, 883 F.3d 971, 975–76 (7th Cir. 2018)), the two
doctrines are distinct. See id. at 1205 (concluding that standing was satisfied against
all three state official defendants even though Ex parte Young permitted a suit against
only one of them).
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Act].’” Support Working Animals v. DeSantis, 457 F. Supp. 3d 1193, 1206 (N.D.

Fla. 2020) (alterations in original) (quoting Reprod. Health Servs. v. Strange, 204 F.

Supp. 3d 1300, 1318 (M.D. Ala. 2016)). State Defendants make no argument that

these requirements are not met here.

      State Defendants’ contention that “Plaintiffs fail to identify any enforcement

authority State Defendants possess as to the injuries alleged in this claim” is also

incorrect as a factual matter. State Defs.’ Br. at 10. As outlined above, Plaintiffs

expressly allege each State Defendant’s enforcement authority over various

challenged provisions. See supra at 3-4 (citing Am. Compl. ¶¶ 30-32). For example,

Plaintiffs’ Amended Complaint explains that Defendant Secretary Raffensperger is

charged with providing the absentee ballot applications that, absent an order from

this Court, will include the new voter identification requirement established by SB

202. Am. Compl. ¶ 30 (citing SB 202, § 25); see also SB 202, §§ 27, 28. Georgia

law also tasks him with various obligations to train “registrars and superintendents

of elections,” “prepare and furnish information for citizens on voter registration and

voting,” and otherwise oversee Georgia’s election administration, see O.C.G.A.

§§ 21-2-50(a)(11), (13), all of which the Secretary will undertake with the goal of

obtaining SB 202 compliance unless this Court directs otherwise.

      Plaintiffs likewise alleged that the State Election Board Defendants are

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empowered to enforce county compliance with SB 202, including the new provisions

allowing private individuals to challenge an unlimited number of voters’

qualifications. Am. Compl. ¶¶ 31-32 (citing SB 202, §§ 15, 16). Without a separate

order enjoining them from using this authority to penalize local election officials

who stray from SB 202’s dictates, the State Board Defendants could suspend and

remove any local official who fails to implement the portions of SB 202 Plaintiffs

challenge. See SB 202, §§ 6-7. 6 Plaintiffs, in other words, seek to enjoin State

Defendants from enforcing the provisions of SB 202 for which they are responsible.

      For this reason, State Defendants’ observation that SB 202 also allocates

enforcement of some of its provisions to county officials is immaterial. Plaintiffs are

separately seeking injunctions against county officials to enjoin their enforcement

of the provisions that they too are responsible for implementing, but this has no

bearing on the claims Plaintiffs are bringing against State Defendants.

“Redressability is established when a favorable decision would amount to a

significant increase in the likelihood that the plaintiff would obtain relief that directly


6
  Tellingly, State Defendants do not argue that they lack enforcement authority over
all of the SB 202 provisions that Plaintiffs challenge. See State Defs.’ Br. at 7 (listing
only a small subset of provisions). And oddly enough, they do not seek
reconsideration of the Court’s ruling with respect to Counts I and II of Plaintiffs’
Amended Complaint, which, like Count III, also name the Secretary and State Board
of Elections as defendants based on their enforcement connection to the same
challenged provisions of SB 202.
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redresses the injury suffered.” Fla. Wildlife Fed’n, Inc. v. S. Fla. Water Mgmt. Dist.,

647 F.3d 1296, 1303–04 (11th Cir. 2011) (quoting Mulhall v. UNITE HERE Local

355, 618 F.3d 1279, 1290 (11th Cir. 2010)); see also Made in the USA Found. v.

United States, 242 F.3d 1300, 1310 (11th Cir. 2001) (noting that, in many

circumstances, “partial relief is sufficient for standing purposes”). Plaintiffs alleged

that State Defendants have enforcement responsibility for SB 202 provisions at issue

in this lawsuit, and an order enjoining their enforcement would significantly increase

the likelihood of Plaintiffs’ injuries being redressed.

      Finally, to the extent State Defendants contend that they cannot be held

responsible for the discriminatory purpose the General Assembly harbored when it

enacted SB 202, that argument similarly misses the point. In our system of separated

powers, the legislative branch enacts legislation that the executive branch enforces,

and a law is not cleansed of its legislative purpose merely because it is not the

legislature itself that enforces it. Cf. Miller v. Johnson, 515 U.S. 900, 920 (1995)

(holding redistricting map enacted by Georgia Legislature with “racial purpose”

unconstitutional in suit against Georgia executive officials). A cramped view of

causation in which only the legislature that enacts an unconstitutional law causes the

injuries that result from it would lead to federal courts never having jurisdiction to

hear suits to enjoin unconstitutional statutes, as all suits would be blocked by either

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sovereign immunity (due to the legislature’s lack of enforcement authority) or a lack

of standing (due to the executive branch’s not having enacted the law). Courts have

long rejected this theory because it is the enforcement of a statute that imposes the

injury; suits to enjoin unconstitutional statutes are properly brought against officials,

including members of the executive branch, who enforce them. See, e.g., Terrace v.

Thompson, 263 U.S. 197, 214 (1923).

II.   State Defendants have not satisfied the requirements for a 28 U.S.C.
      § 1292(b) interlocutory appeal certification.

      State Defendants’ request that the Court certify its Order for interlocutory

appeal pursuant to 28 U.S.C § 1292(b) is equally unfounded. “Certification for

immediate appeal of a nonfinal order under § 1292(b) is an extraordinary measure,

which is permitted only in exceptional circumstances.” United States v. Zak, No.

1:18-CV-5774-AT, 2021 WL 5736218, at *2 (N.D. Ga. Oct. 22, 2021). “The

essential requirements for any § 1292(b) appeal, which are set out in the statute

itself,” are (1) that the proposed appeal center on a “controlling question of law” (2)

on which there is “substantial ground for difference of opinion” and (3) that the

appeal “materially advance the ultimate termination of the litigation.” McFarlin, 381

F.3d at 1257. State Defendants have met none of these requirements.

      First, a “controlling question of law,” as § 1292(b) uses the term, is limited to

“an abstract legal issue or what might be called one of ‘pure’ law.” Id. at 1258. The
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Eleventh Circuit has expressly and repeatedly held that the phrase “does not mean

the application of settled law to fact,” id.; Mamani v. Berzain, 825 F.3d 1304, 1313

(11th Cir. 2016), which is precisely what is at issue in State Defendants’ belated

challenge to the causation and redressability elements of Plaintiffs’ standing. State

Defendants do not ask the Court to determine an open question regarding “the

meaning of a statutory or constitutional provision, regulation, or common law

doctrine,” McFarlin, 381 F.3d at 1258, but rather to apply the already-settled

meaning of the Case or Controversy Clause of Article III to a particular set of alleged

facts. This is a textbook example of the type of fact-bound determination that is not

appropriate for § 1292(b) certification. Cf. Mamani, 825 F.3d at 1313 (denying

certification where the defendants asked the court to decide “whether the specific

facts alleged by these particular plaintiffs state eight claims for relief under the

[statute]”).

       Second, there is not “substantial ground for difference of opinion,” § 1292(b),

about Plaintiffs’ standing to bring the First Amendment claim that State Defendants

challenge—in fact, State Defendants do not truly contend otherwise. They simply

state repeatedly that they have a “strong argument” that Plaintiffs lack standing

under Whole Woman’s Health. State Defs.’ Br. at 11-12. Even if State Defendants

were right about the particulars of standing doctrine (and they are not), they still

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would be wrong about interlocutory appeal. “[T]he mere claim that the district

court’s ruling is incorrect does not support a finding that there is substantial ground

for difference of opinion.” In re Sci.-Atlanta, Inc. Sec. Litig., No. CIV.A.1:01-CV-

1950RW, 2003 WL 25740734, at *1 (N.D. Ga. Apr. 15, 2003). Instead, “a

substantial question is presented only where (1) the issue is difficult and of first

impression; (2) a difference of opinion as to the issue exists within the controlling

circuit; or (3) the circuits are split on the issue.” Ga. State Conf. of NAACP v. Fayette

Cnty. Bd. of Comm’rs, 952 F. Supp. 2d 1360, 1364 (N.D. Ga. 2013). State

Defendants make no effort whatsoever to fit their argument into any of these

categories and cite no cases other than Whole Woman’s Health to demonstrate

substantial grounds for a difference of opinion. See State Defs.’ Br. at 11-12. This is

the kind of “mere question as to the correctness of the ruling” that § 1292(b) is not

intended to address. McFarlin, 381 F.3d at 1256 (quoting 1958 U.S.C.C.A.N. 5258,

5260-61).

      Last, State Defendants do not meaningfully explain how resolving the

identified question would “materially advance the ultimate termination of the

litigation,” § 1292(b), which is unsurprising because, in reality, permitting the type

of piecemeal appeal that they request does just the opposite. See McFarlin, 381 F.3d

at 1257 (“‘[P]iecemeal appeals’ as they are called, may make for delay and increase

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the expense of the litigation.” (quoting 1958 U.S.C.C.A.N. at 5259)). State

Defendants challenge Plaintiffs’ standing to bring only one of their five claims, and

they comprise only five of the twenty-one defendants that the one claim they

challenge is asserted against. Discovery and litigation related to the remaining claims

would continue regardless of whether State Defendants were able to obtain a reversal

of the Court’s Order based on their new meritless standing arguments.

      Contrary to State Defendants’ assertions, a reversal of the Court’s Order on

the identified grounds would not “obviate the need for any further motions practice

on th[at] claim[], as well as costly discovery and the potential for future discovery

disputes.” State Defs.’ Br. at 12. The same discovery and litigation aimed at proving

the legislative intent behind SB 202 will occur in connection with Plaintiffs’ First

Amendment claim against the other defendants regardless of State Defendants’

involvement. Indeed, to the extent State Defendants have evidence of legislative

intent within their sole control, they would likely be the target of third-party

discovery even if they were to succeed in getting the one claim against them

dismissed. In other words, the dismissal State Defendants seek would do nothing

more than excuse a small minority of defendants from actively defending a single

claim during litigation that will proceed in its entirety irrespective of their

participation.

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      Further, Plaintiffs and State Defendants would be forced to engage in

duplicative parallel litigation in the Court of Appeals. Even if State Defendants did

not pursue a stay of proceedings related to the claim before this Court while the

appeal played out, see § 1292(b), the parallel litigation would multiply costs and

lengthen the proceedings while the parties dedicate a portion of their finite capacity

to relitigating before a second tribunal a question that the Court has already fully

resolved, likely only to obtain the same answer a second time. While such delays are

undesirable in any case, they are especially unacceptable here, where protracted

litigation that would prevent Plaintiffs from obtaining relief sufficiently in advance

of the impending 2022 elections could result in Plaintiffs’ being denied relief

altogether with respect to those contests. See New Ga. Project v. Raffensperger, 976

F.3d 1278, 1283 (11th Cir. 2020) (citing Purcell v. Gonzalez, 549 U.S. 1, 4–5

(2006)). Far from “serv[ing] to avoid a trial or otherwise substantially shorten the

litigation,” the appeal State Defendants seek would prolong and multiply the present

litigation. State Defendants therefore fail to meet the third requirement for a

§ 1292(b) certification as well. See McFarlin, 381 F.3d at 1259.




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                                  CONCLUSION

      For the foregoing reasons, the Motion for Reconsideration or, in the

Alternative, Certification for Immediate Appeal should be denied in full.



Respectfully submitted, this 20th day of January, 2022.

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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using font type of Times

New Roman and a point size of 14.



Dated: January 20, 2022.                    s/ Uzoma N. Nkwonta
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                           CERTIFICATE OF SERVICE

      I hereby certify that on January 20, 2022, I electronically filed this document

with the Clerk of Court using the CM/ECF system which will automatically send

email notification of such filing to the attorneys of record.



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